 

Case: 1:15-cv-05181 Document #: 11-2 Filed: 07/14/15 Page 1 of 22 PagelD #:101

4, provides 24 hour a day nursing service by or under the supervision of a Graduate Registered Nurse (RN);
5. provides skilled nursing care under the supervision of a Physician; and
6. maintains a daily medical record of each patient.

Home Health Care means nursing care and treatment of an Insured Person in his or her home as part of an overall
extended treatment plan. To qualify, the extended treatment plan must:

1. be approved in writing by the attending Physician;

2. be provided by a Hospital certified to provide Home Health services or by a certified Home Health Care
agency;

3. begin within seven (7) days after discharge from a Hospital; and

4. follow a Hospital confinement of five (5) days or more.

No benefits are payable for Home Health Care services provided by:
1. amember of an Insured Person's immediate family; or
2. a person residing in the Insured Person's home.

Hospital means a facility that: (1) operates under the law of the state that it is situated in; (2) is approved by the
Department of Health and Human Services or its successor; (3) has organized facilities for diagnosis and surgery
on its premises or in facilities available to it on a prearranged basis; (4) has 24-hour nursing service by
graduate registered nurses (RN), on duty or on call; and (5) is supervised by one or more Physicians. A Hospital does
not include: (1) a nursing, convalescent or geriatric unit of a Hospital when a patient is confined mainly to receive
nursing care; (2) a facility that is, other than incidentally, a rest home, nursing home, convalescent home or home for
the aged; nor does it include any ward, room, wing or other section of the Hospital that is used for such purposes;
or (3) any military or veterans Hospital or soldiers home or any Hospital contracted for or operated by any
national government or government agency for the treatment of members or ex-members of the armed forces.

Maximum Benefit Period means, with respect to the Accident Medical Expense Benefit, the maximum period
for which benefits will be payable for Covered Accident Medical Services for or in connection with a single
Accident Medical Expense Covered Loss. The length of the Maximum Benefit Period for Accident Medical
Expense is shown in the Schedule.

Medical Commencement Period means the time period shown in the Schedule between the date of the Accident that
caused the Injury and the date that the first medical service or treatment must be incurred for Accident
Medical Expense Benefits to be payable under this Policy. .

Medically Necessary means that a Covered Accident Medical Service: (1) is essential for diagnosis, treatment or
care of the Injury for which it is prescribed or performed; (2) meets generally accepted standards of medical
practice; and (3) is ordered by a Physician and performed under his or her care, supervision or order. The fact that a
Physician may prescribe, authorize, or direct a service does not of itself make it Medically Necessary or covered by

this Policy.

Personal Comfort or Convenience Item(s) means those items that are not Medically Necessary for the care and
treatment of the Insured Person’s Injury. The term Personal Comfort or Convenience Item(s) includes, but is not
limited to: (1) a private Hospital room, unless Medically Necessary; (2) television rental; and (3) Hospital telephone
charges.

Sound Natural Teeth means natural teeth that are either unaltered or fully restored to their normal function and are
disease free, have no decay, and are not more susceptible to Injury than unaltered natural teeth.

Usual and Customary Charge(s) means a charge that is made for a Covered Accident Medical Expense Benefit
that: (1) does not include charges that would not have been made if no insurance existed; (2) is the lesser of the
usual charges for similar services, treatment, supplies, or Hospital room and board in the locality where the expense
is incurred, or the Workers’ Compensation fee schedule, if applicable, or the negotiated rate of the Preferred
Provider designated by Us. For a Hospital stay, the Usual and Customary Charge is based upon the expense for
a semi-private room and board charge, unless the stay is a Medically Necessary stay in an intensive care unit; and
(3) with respect to drugs, is the negotiated rate of the Preferred Provider designated by Us, if applicable, or 125%
of the Average Wholesale Price (AWP), if applicable.

AH 400A OATIGIT 02 12 Page 17 of 35
 

Case: 1:15-cv-05181 Document #: 11-2 Filed: 07/14/15 Page 2 of 22 PagelD #:102

TRAVEL ASSISTANCE

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Travel Assistance will be available to the following Covered Persons when they are traveling 100 miles or more from the
Insured Person’s Principal Residence: the Insured Person and his or her Spouse/Domestic Partner and/or Dependent
Child(ren), if the Spouse/Domestic Partner and/or Dependent Child(ren) are with the Insured Person while he or she is
covered under this Policy. The Spouse/Domestic Partner and/or Dependent Child(ren) will not be covered while making
a trip without the Insured Person. The transportation and/or services provided under Travel Assistance must be pre-
authorized by Us. However, for certain expenses, if it is not reasonably practicable for the Covered Person to contact Us
for pre-authorization, the Covered Person may be reimbursed, at Our discretion, for appropriate covered expenses not to

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exceed $500. Under this Policy, Travel Assistance consists of the following:

e TRAVEL ASSISTANCE BENEFITS

Medical Evacuation
If a Covered Person is Injured or Ill on a Covered Trip and is being treated in a hospital, medical facility, clinic or

by a medical provider which, based upon Our evaluation, cannot provide medical care in accordance with the
appropriate medical care required for such Injury or [liness, We will arrange for, and cover the cost for, the transport
of the Covered Person to the nearest hospital or medical facility which can provide such care. We must be contacted
prior to the transport and We must pre-authorize the transport for benefits to be payable. However, if it is not
reasonably practicable for the Covered Person to contact Us for pre-authorization, the Covered Person may be
reimbursed, at Our discretion, for appropriate covered expenses not to exceed $500. No transport will be arranged for
and/or covered without the prior recommendation of the attending Physician. For the limited purpose of determining
Our liability, We have the sole right to determine the standard of care of a hospital or medical facility, clinic or

medical provider.

Assisted Return of Covered Person
Ifa Covered Person is Injured or Ill ona Covered Trip and has sufficiently recovered to travel with minimal risk to

his or her health, We will arrange for, and cover the cost for, the transport of the Covered Person to the Insured
Person’s Principal Residence, in such transportation. We must be contacted prior to the transport and We must pre-
authorize the transport for benefits to be payable. However, if it is not reasonably practicable for the Covered Person
to contact Us for pre-authorization, the Covered Person may be reimbursed, at Our discretion, for appropriate covered
expenses not to exceed $500. No transport will be arranged for and/or covered without the prior recommendation of the
attending Physician. For the limited purpose of determining Our liability, We have the sole right to determine the
scheduling, the mode of transportation and the special equipment and/or personnel, if required, which are covered.

Return of Remains
If a Covered Person dies while on a Covered Trip, We will make arrangements and pay for the local preparation of

the body for transport or cremation (not including the cost of cremation), travel clearances and authorizations, standard
shipping container (not including urn or coffin) and transportation of the body or remains to its country of destination.
We must be contacted prior to the preparation and transportation of the body and We must pre-authorize the services
and transportation for benefits to be payable. However, if it is not reasonably practicable for the legal representative or
next of kin to contact Us for pre-authorization, the legal representative or next of kin may be reimbursed, at Our
discretion, for appropriate covered expenses not to exceed $500.

Visit to Hospital

If a Covered Person is scheduled to be hospitalized for more than seven (7) consecutive days while on a Covered
Trip, We will arrange for, and cover the cost of, the transportation for the person chosen by the Covered Person to
visit such Covered Person while he or she is hospitalized. We must pre-authorize the transportation for benefits to be
payable. However, if it is not reasonably practicable for the Covered Person to contact Us for pre-authorization, the
Covered Person may be reimbursed, at Our discretion, for appropriate covered expenses not to exceed $500,

Return of Child
If an Insured Person is Injured or I while traveling with his or her Dependent Child(ren) on a Covered Trip,

causing such Dependent Child(ren) to be left unattended, We will arrange and pay for the transport of the Dependent
Child(ren) and for an attendant, if applicable. They will be transported to the location chosen by the Insured Person.
We must pre-authorize the transportation of the Dependent Child(ren) and attendant, if applicable, for benefits to be
payable. However, if it ig not reasonably practicable for the Covered Person to contact Us for pre-authorization, the
Covered Person may be reimbursed, at Our discretion, for appropriate covered expenses not to exceed $500.

Return of Companion
If a Covered Person is traveling with a companion while on a Covered Trip, and due to the Illness or Injury to the

Covered Person such Covered Person cannot complete the Covered Trip as scheduled, We will pay for the
AH 400A OATIGIT 02 12 Page 18 of 35
 

 

Case: 1:15-cv-05181 Document #: 11-2 Filed: 07/14/15 Page 3 of 22 PagelD #:103

companion’s return. We must pre-authorize such costs for benefits to be payable. However, if it is not reasonably
practicable for the Covered Person to contact Us for pre-authorization, the Covered Person may be reimbursed, at
Our discretion, for appropriate covered expenses not to exceed $500.

¢ TRAVEL ASSISTANCE EXCLUSIONS

We will not provide Travel Assistance if the Coverage is excluded under Section VI General Exclusions of the

Policy, or if:

1. the Covered Trip was undertaken for the specific purpose of securing medical treatment;

2. the Injuries or IlIness requiring medical services resulted from the deliberate ingestion of a poison, fume, noxious
chemical substance; or the use of a prescription drug unless taken as prescribed by a Physician; or a non-
prescription drug, unless taken in accordance with its directions;

3. with respect to a MEDICAL EVACUATION, the medical care, which is being provided, is consistent with
appropriate medical care required for such Injury or Hlmess. We have sole discretion in making that
determination;

4. with respect to MEDICAL EVACUATION, it is not medically necessary to transport the Covered Person to
another hospital or medical facility. We have the sole discretion in making that determination;

5. based upon the medical condition of the Covered Person and/or the local conditions and circumstances, We
determine that MEDICAL EVACUATION or ASSISTED REPATRIATION is not appropriate. We have sole
discretion in making that determination;

6. any local, state, country or international law prohibits the provision of the transportation or services provided for
under this plan. We will be fully and completely excused from performance and discharged from any contractual
obligation;

7. We did not pre-authorize the transportation and/or services. However, for certain expenses, if it is not reasonably _
practicable for the Covered Person to contact Us for pre-authorization, the Covered Person may be reimbursed,
at Our discretion, for appropriate covered expenses not to exceed $500.

e TRAVEL ASSISTANCE DEFINITIONS
For purposes of Travel Assistance only, the following definitions apply:
Covered Trip means when a Covered Person is traveling more than 100 miles from the Insured Person’s Principal
Residence and such travel is covered under the Policy and is not excluded under the TRAVEL ASSISTANCE
EXCLUSIONS set forth above.

Domestic Partner means a person with whom the Insured Person has a legally recognized relationship as a Domestic
Partner, Civil Union Partner, Reciprocal Beneficiary, or a person who has registered in a state or local Domestic
Partner registry with an Insured Person.

IlIness or II] means a sickness or disease which impairs normal functions of the body.
Principal Residence means the legal domicile of the Insured Person.

For the purpose of Travel Assistance, if there are any differences in the definition of a term between Travel
Assistance and the Policy, the definition in Travel Assistance will govern.

e TRAVEL ASSISTANCE - OTHER PROVISIONS

Reservation of Rights
We reserve the right to suspend, curtail or limit Our coverage in any area in the event of rebellion, riot, military

uprising, war, terrorism, labor disturbance, strike, nuclear accident, act of God or refusal of authorities to permit Us to
provide services or in any country for which a travel warning has been issued by the Department of State of the United

States of America.

Scope
Tilness, as covered under Travel Assistance, is solely covered under Travel Assistance, and in no way supercedes or

modifies the other Coverages provided under this Poticy. All other Coverages provided under this Policy are available
only as a result of a Covered Injury.

To contact Us regarding Travel Assistance, the Insured Person must call 1-866-670-6693 from the U.S. or Canada; and
collect from anywhere else in the world at + 1-973-630-6693.

AH 400A OATIGIT 02 12 Page 19 of 35
 

Case: 1:15-cv-05181 Document #: 11-2 Filed: 07/14/15 Page 4 of 22 PageID #:104

 

SECTION V - LIMITATIONS

Combined Single Limit,
We will not pay more than the Combined Single Limit stated in the Schedule.

Aggregate Limit of Liability. ;
ity stated in the Schedule.

We will not pay more than the Aggregate Limit of Liabili

Incarceration Limitation.
d Person is incarcerated in a penal facility. The

Benefits being made to an Insured Person will cease while the Insure
ons, when the Insured Person is

benefit will resume, as if the benefits had been paid, subject to all Policy conditi
released from such facility.

AH 400A OATIGIT 02 12 Page 20 of 35
Case: 1:15-cv-05181 Document #: 11-2 Filed: 07/14/15 Page 5 of 22 PagelD #:105

 

SECTION VI -— GENERAL EXCLUSIONS

 

 

AH 400A OATIGIT 02 12

"This Policy does not cover any losses caused in whole or in part by, or resulting in whole or in part from, the following:

suicide or any attempt at suicide; intentionally self-inflicted Injury or any attempt at intentionally self-inflicted Injury,
including, but not limited to, any attempt to restrict the flow of oxygen to the brain for purposes of autoeroticism or
auto-erotic asphyxiation; or any Injury resulting from a provoked attack;

illness or disease, regardless of how contracted; medical or surgical treatment of illness or disease; or complications
following the surgical treatment of illness or disease; except for Accidental ingestion of contaminated foods;

Cumulative Trauma and/or Repetitive Conditions, unless as shown in the Schedule;
Occupational Disease, unless (and to the extent as) specifically provided by this Policy;
Hernia of any kind, unless as shown in the Schedule;

Hemorrhoids of any kind, unless as shown in the Schedule;

performing, learning to perform or instructing others to perform as a crew member of any vessel while covered under
the Jones Act or the United States Longshore and Harbor Workers! Act, or similar coverage;

war, or any act of war, whether declared or undeclared;

involvement in any type of active military service;

any Injury for which the Insured Person is entitled to benefits pursuant to any Workers' Compensation Law or other
similar legislation;

any loss insured by employers' liability insurance;

the Insured Person being intoxicated. The Insured Person is conclusively deemed to be intoxicated if the level of
alcohol in his or her blood exceeds the amount at which a person is presumed, under the law of the locale in which the
Accident occurred, to be under the influence of alcohol if operating a motor vehicle, regardless of whether he or she is
in fact operating a motor vehicle, when the Injury occurs. An autopsy report from a licensed medical examiner, law
enforcement officer reports, or similar items will be considered proof of the Insured Person's intoxication;

the deliberate ingestion of a poison, fume, noxious chemical substance; or the use of a prescription drug unless taken as
prescribed by a Physician; or a non-prescription drug, unless taken in accordance with its directions;

participation in the commission or attempted commission of a crime, any felony, an assault, insurrection or riot;

travel or flight in or on (including getting in or out of, or on or off of) any vehicle used for aerial navigation, if the
Insured Person is:
a. riding as a passenger in any aircraft not intended or licensed for the transportation of passengers;

b. performing, learning to perform or instructing others to perform as a pilot or crew member of any aircraft,
c. riding as a passenger in an aircraft owned, leased or operated by the Participating Organization or an Insured

Person;
participation in any of the following activities:
skydiving hang gliding parachuting parasailing
automobile racing or stunts bungee-jumping scuba diving heli-skiing
motorcycle racing or stunts endurance tests fire fighting racing
acrobatic or stunt flying extreme sport stunts hunting

flight on a rocket-propelled or rocket launched aircraft
or any other extra-hazardous activity;

a cardiovascular event or stroke caused by exertion prior to or at the same time as an Accident;

alcoholism or drug addiction; or
any Pre-Existing Condition until the Insured Person has been continuously covered under this Policy for twelve (12)
consecutive months.

Page 21 of 35
 

 

 

 

Case: 1:15-cv-05181 Document #: 11-2 Filed: 07/14/15 Page 6 of 22 PagelD #:106

 

SECTION Vil -TERMINATION OF POLICY

 

This Policy will terminate at 12:01 A.M. Standard Time at the Policyholder's, or its Designee’s, address on the earliest of:
1. the premium due date if premiums are not paid when due subject to the Grace Period;

2. the date specified in the written notice of Our intent to terminate this Policy, which will be at least thirty (30) days
after the date We send such notice to the Policyholder's, or its Designee’s, last known recorded address; or

3, the date specified in the written notice of the Policyholder's, or its Designee’s, intent to terminate this Policy, which
will be at least thirty (30) days after the date the Policyholder, or its Designee, sends such notice to Us.

If We terminate this Policy, any unearned premium will be returned on a pro-rata basis. If the Policyholder, or its
Designee, requests termination, We will return any unearned premium paid on a pro-rata basis.

Termination will not affect any claim for a Covered Loss occurring prior to the effective date of termination.
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AH 400A OATIGIT 02 12 Page 22 of 35
 

Case: 1:15-cv-05181 Document #: 11-2 Filed: 07/14/15 Page 7 of 22 PagelD #:107

 

SECTION VIII - CLAIMS PROVISIONS

 

Notice. The Insured Person or the beneficiary, or someone on their behalf, must give Us written notice of the loss within
twenty (20) days of such loss. The notice must name the Insured Person and the Policy Number, To request a claim form,
the Insured Person or the beneficiary, or someone on their behalf may contact Us at 866-568-2233. The notice must be
sent to the Claims Department at Atlantic Specialty Insurance Company, or any of Our agents. Notice to Our agents is
considered notice to Us.

Claim Forms. We will send the claimant Proof of Loss (claim) forms within fifteen (15) days after We receive notice. If
the claimant does not receive the forms in fifteen (15) days after submitting notice, he or she can send Us a detailed written
report of the claim and the extent of the loss. We will accept this report as a Proof of Loss if sent within the time fixed
- below for filing a Proof of Loss. The notice should include the Insured Person’s name, the Participating Organization’s

name, and the Policy number.

Proof of Loss. Written Proof of Loss, acceptable to Us, must be sent within ninety (90) days of the date of the loss. If the
loss is one for which this Policy requires continuing eligibility for periodic benefit payments, subsequent written proofs of
eligibility must be furnished at such intervals as We may reasonably require. Failure to furnish Proof of Loss, acceptable to
Us, within such time, will neither invalidate nor reduce any claim if it is not reasonably possible to furnish the Proof of
Loss, and the proof is provided as soon as reasonably possible, and in no event, except in the absence of legal capacity of
the claimant, later than one year from the time proof is otherwise required. We have a right to investigate the Proof of Loss
and any relevant documents which the Insured Person will make available to Us upon request.

Time of Payment. We will pay claims for all Covered Losses, other than Covered Losses for which this Policy provides
any periodic payment, immediately upon receipt of written Proof of Loss that is acceptable to Us.

Unless an optional periodic payment is stated or chosen, any Covered Loss to be paid in periodic payments will be paid at
the end of each one (1) week period. The unpaid balance, which remains when Our liability ends, will then be paid when
We receive the proof of Covered Loss that is acceptable to Us.

Recipient of Payment.
1. Loss of Life. Covered Losses resulting from the Insured Person’s death are paid to the named beneficiary at the time

of death. If there is no beneficiary named or the named beneficiary predeceases or dies at the same time as the Insured
Person, We will pay the benefit to the Insured Person's survivors in the following order:

a. . the Insured Person's legally married spouse;
b. the Insured Person's child(ren);

c. the Insured Person's parents;

d. the Insured Person's brothers and sisters;

e. the Insured Person's estate.

2. All Other Claims. Benefits are paid to the Insured Person. The Insured Person may direct in writing that all or part
of an Accident Medical Expense Benefit be paid directly to the party who furnished the service. The direction may be
changed by the Insured Person at any time up to the filing of the Proof of Loss. If an Insured Person dies before all
payments due have been made, the amount still payable will be paid to his or her beneficiary, or if there is no
beneficiary designated, as set forth above.

Physical Examination and Autopsy. We have the right to examine an Insured Person, whose Injury is the basis of a
claim, when and as often as We may reasonably request while the claim is pending. Such examination will be at Our

expense. We may also require an autopsy be performed, unless forbidden by law.

Conditional Claim Payment. If an Insured Person suffers a Covered Loss(es) as the result of Injuries for which a
third party may be liable, We will pay the amount of benefits otherwise payable under this Policy. However, if the
Insured Person, beneficiary or any other person receives payment from the third party, the Insured Person, beneficiary
or any other person agrees to refund to Us the lesser of: (1) the amount actually paid by Us for such Covered Loss(es);
or (2) an amount equal to the sum actually received from the third party for such Covered Loss(es). If the
Insured Person, beneficiary or any other person does not receive payment from the third party for such Covered
Loss(es), We reserve the right to subrogate under the Subrogation clause of this Policy.

At the time such third party liability is determined and satisfied, this amount will be paid whether determined by
settlement, judgment, arbitration or otherwise. This provision will not apply where prohibited by law.

AH 400A OATIGIT 02 12 Page 23 of 35
 

Case: 1:15-cv-05181 Document #: 11-2 Filed: 07/14/15 Page 8 of 22 PagelD #:108

' Rehabilitation. We will consider a rehabilitation program for the Insured Person if he or she is receiving benefits under
either the Temporary Total Disability Benefit or the Continuous Total Disability Benefit. The program must be
mutually agreed upon by the Insured Person and Us. The extent of Our participation will be determined by mutual
agreement and benefits payable will continue during the Insured Person’s rehabilitation.

Sunset, In no event will a claim made for losses sustained by an Insured Person be considered valid and collectible in
accordance with this Policy unless full details of such claim are presented to Us within five (5) years from the date of the

Accident which is the basis of such claim.

Right to Recover Overpayments. In addition to any rights of recovery, reimbursement or subrogation provided to
Us herein, when payments have been made by Us with respect to a Covered Loss in an amount in excess of the maximum
amount of payment necessary to satisfy an obligation under the terms of this Policy, We will have the right to recover
such excess payment, from any person to whom such payments were made. We maintain the right to offset the
overpayment against other benefits payable to the Insured Person (and his or her assignee) under this Policy to the

extent of the overpayment.

Suit Against Us. No action on this Policy may be brought until sixty (60) days after written Proof of Loss has been sent to
Us. Any action must commence within three (3) years, (five (5) years in Kansas and Tennessee; and six (6) years in South
Carolina, Wisconsin and Alabama) of the date the written Proof of Loss was required to be submitted. If the law of the state
where the Insured Person lives makes such limit void, then the action must begin within the shortest time period permitted
by law. In those states where binding arbitration is allowed, binding arbitration will supersede this provision.

Arbitration. Any contest to a claim denial and/or any dispute in connection with a claim under this Policy will be settled:
by arbitration administered by the American Arbitration Association in accordance with its Commercial Arbitration Rules,
and judgment on the award rendered by the arbitrator(s) may be entered in any court having jurisdiction. The arbitration
will occur at the offices of the American Arbitration Association nearest to the Insured Person or the person claiming to be
the beneficiary. This provision does not apply if the Insured Person or the person claiming to be the beneficiary is a
resident of a state where the law does not allow binding arbitration in an insurance policy, but only if this Policy is subject

to its laws, In such a case, binding arbitration does not apply.

This Arbitration provision permanently bars the institution of any individual or class action lawsuit brought by the Insured
Person or beneficiary. With this binding Arbitration provision, the Insured Person for himself, herself or any beneficiary

is waiving the right to a trial by jury.

Recovery. In the event an Insured Person makes a recovery from a third party for a loss paid under this
Policy, the Insured Person will reimburse Us up to the amount of the benefits made by Us.

Subrogation. We have the right to recover all payments including future payments, which We have made, or
will be obligated to pay in the future, to the Insured Person, beneficiary or any other person from anyone liable for
the Covered Injury. If the Insured Person, beneficiary or any other person recovers from anyone liable for the
Covered Injury, We will be reimbursed first from such recovery to the extent of Our payments to the Insured
Person, beneficiary or any other person. The Insured Person, beneficiary or any other person agrees to assist Us in
preserving Our rights against those responsible for such loss, including but not limited to, signing subrogation forms

supplied by Us.
Claims for Workers’ Compensation and Other Insurance. No benefits will be payable under this Policy for any loss

which the Insured Person claims or files under any Workers' Compensation, employers' liability, occupational disease or
similar law or insurance until such claim or filing is approved or denied. If such claim is denied and not appealed, We will
pay benefits in accordance with the terms and provisions of this Policy. If such claim is denied, and the Insured Person
appeals the denial, no benefits wil! be paid under this Policy until a final disposition of the appeal is issued, at which
time We will determine Our liability. If the final disposition is an approval of the claim, We reserve the right to
recover, from the Insured Person, any benefits paid under this Policy which are subsequently paid for under any
Workers’ Compensation, employers’ liability, occupational disease or similar law or any other insurance. If the final
disposition is a denial of the claim, We will pay benefits in accordance with the terms and provisions of this Policy.

AH 400A OATIGIT 02 12 Page 24 of 35
 

Case: 1:15-cv-05181 Document #: 11-2 Filed: 07/14/15 Page 9 of 22 PagelD #:109

 

SECTION IX — GENERAL PROVISIONS

 

Beneficiaries, The Insured Person has the sole right to name a beneficiary. The beneficiary has no interest in the Policy
other than to receive certain payments. The Insured Person may change the beneficiary at any time, Consent to a change
by a prior beneficiary is not needed unless the previous beneficiary was designated as irrevocable. Any beneficiary
designation must be in writing on a form acceptable to Us.

If any payee is a minor or is not competent to give a valid release for the payment, the payment will be made to the
legal guardian of the payee's property. If the payee has no legal guardian for his or her property, a payment not exceeding
$1,000 may be made, at Our option, to any relative by blood or connection by marriage of the payee, who, in Our opinion,
has assumed the custody and support of the minor or responsibility for the incompetent person's affairs

Change or Waiver. A change or waiver of any terms or conditions of this Policy must be issued by Us in writing and
signed by one of Our executive officers. No agent has authority to change or waive Policy terms or conditions. A failure to
exercise any of Our rights under this Policy will not be deemed as a waiver of such rights in the same or future situations.

Clerical Error. A clerical error or omission, whether by the Policyholder, or its Designee, or Us, will not increase or
continue an Insured Person’s coverage, which otherwise would not be in force. If an Insured Person applies for insurance

for which he or she is not eligible, We will only be liable for any premiums paid to Us.
Conformity With Statute, Terms of this Policy that conflict with the laws of the District of Columbia are amended to
conform to such laws.

Entire Contract. This Policy, together with any riders, endorsements, amendments, applications, completed
enrollment materials and attached papers, if any, make up the entire contract between the Policyholder and Us. In the
absence of fraud, all statements made by the Pelicyholder, or its Designee, or any Insured Person will be considered
representations and not warranties. No written statement made by an Insured Person will be used in any contest
unless a copy of the statement is furnished to the Insured Person or his or her beneficiary or personal representative.

Policyholder Records/Audit, The Policyholder, or its Designee, will keep a record of the coverage, premium and other
pertinent administrative information for each Insured Person in accordance with Our written instructions and the terms
and provisions of this Policy. We may examine these records at reasonable times while the Policy is in force and for six (6)
years after the termination of the Policy. We reserve the right to charge or refund premium, as applicable. The
Policyholder, or its Designee, will report to Us, within a reasonable time, all changes in information regarding an Insured
Person. The Policyholder, or its Designee, will indemnify Us for any benefits or other payments that are caused in whole
or in part by the Policyholder’s, or its Designee’s, negligence or error in performing the record keeping function. In
addition, the Policyholder, or its Designee, will be liable for any retroactive premium.

Data Required. The Policyholder, or its Designee, must maintain adequate records acceptable to Us and provide any
information required by Us relating to this insurance.

Renewal. This Policy will automatically renew for an additional twelve-month period unless either the Policyholder, or its
Designee, or We express an intent not to renew as specified by Policy termination provisions.

Assignment of Interest. This Policy is non-assignable.

Incontestability. The validity of this Policy will not be contested after it has been in force for two (2) years from
the Policy Effective Date, except as to nonpayment of premiums.

Noncompliance With Policy Requirements, Any express waiver by Us of any requirements of this Policy will not
constitute a continuing waiver of such requirements. Any failure by Us to insist upon compliance with any Policy

provision will not operate as a waiver or amendment of that provision.

Newly Acquired Subsidiary/Affiliated Company. If the Participating Organization acquires a subsidiary or affiliated
company that is to be covered under this Policy, and notifies Us of such acquisition within thirty (30) days of the date of

acquisition, the eligible Owner-Operators and Contract Drivers of the Newly Acquired Subsidiary/Affiliated
Company will be allowed to enroll for coverage under this Policy as of the effective date of the acquisition.

AH 400A OATIGIT 02 12 Page 25 of 35
 

 

Case: 1:15-cv-05181 Document #: 11-2 Filed: 07/14/15 Page 10 of 22 PagelD #:110

If the Participating Organization does not notify Us and provide Us with the underwriting information necessary for Us
to determine the amount of additional premium required, if any, within the thirty (30) days, or does not pay such additional
premium, if any, as required, the coverage for the Owner-Operators and Contract Drivers of the Newly Acquired
Subsidiary/Affiliated Company will terminate. However, the Participating Organization will be liable for the payment
of any premium required for the period such coverage was in effect.

Offset Debt. We will have, and may exercise at any time, the right to offset any balance or balances, whether on
account of premiums or otherwise, due from the Policyholder, or its Designee, or the Insured Person to Us against
any balance or balances, whether on account of losses or otherwise, due from Us to the Policyholder, or its Designee, or

the Insured Person.

 

AH 400A OATIGIT 02 12 Page 26 of 35
 

Case: 1:15-cv-05181 Document #: 11-2 Filed: 07/14/15 Page 11 of 22 PagelD #:111

 

SECTION X - GENERAL DEFINITIONS

 

¢ Accident or Accidental means a sudden, unexpected, external event that occurs by chance at an identifiable time and
place during the Policy term.

e Accident Commencement Period means the time period, shown on the Schedule, between the date of the Accident
which caused the Injury and the date the Covered Loss must occur for death, survivor, dismemberment or paralysis
benefits to be payable under this Policy.

e Aggregate Limit of Liability means the total benefits We will pay for a Covered Accident or Covered Accidents
set forth in this Policy. For purposes of the Aggregate Limit of Liability provision, Covered Accident or Covered
Accidents will include a Covered Loss or Covered Losses arising out of a single event or related events or
originating cause and includes a resulting Covered Loss or Covered Losses. If the total benefits under the
Aggregate Limit of Liability is not enough to pay full benefits to each Insured Person, We will pay each one a
reduced benefit based upon the proportion that the Aggregate Limit of Liability bears to the total benefits which

’ would otherwise be paid.

e Combined Single Limit means, with respect to any one Insured Person, the total amount of benefits that are
payable under this Policy for or in connection with a Covered Injury sustained as the result of any one
Covered Accident, When the Combined Single Limit has been reached, no further benefits will be payable under
this Policy, with respect to that Insured Person for or in connection with an Injury sustained as the result of that one

_ Covered Accident.
e Contract Driver is as described in SECTION I.
e Covered Accident means an Accident that results in a Covered Loss.

¢ Covered Injury means an Injury directly caused by an Accident, which is independent of all other causes, results
from a Covered Accident, occurs while the Insured Person is insured under this Policy, and results in a Covered

Loss.

# Covered Loss means a loss which meets the requisites of one or more benefits, results from a Covered Injury, and for
which benefits.are payable under this Policy.

e Cumulative Trauma and/or Repetitive Conditions means conditions which impair the normal physiological function
of the body over an extended period of time, and which do not arise as the result of a single Accident.

¢ Deductible Amount means the portion of the Usual and Customary Charges for Medically Necessary Covered
Accident Medical Services, incurred due to Injuries sustained by an Insured Person in a Covered Accident, which
must be met before the Accident Medical Expense Benefit will be paid. The Deductible Amount is shown in the

Schedule.

© Dependent Child(ren) means those unmarried children of the Insured Person, including natural children
from the moment of birth, step or foster children, or adopted children, from the date of the final decree of
adoption, who rely on the Insured Person for more than 50% of their support and are taken as dependents on
the Insured Person’s Federal Income Tax Return, and who are either: 1) less than nineteen (19) years of age; or
2) less than twenty-three (23) years of age and enrolled on a full-time basis in a college, university or trade
school, or who satisfy neither 1) nor 2), but who prior to age twenty-three (23), became incapable of self-
sustaining employment by reason of mental retardation or physical handicap. We may require proof of such
Dependent Child(ren)'s incapacity and dependency.

e Designee is any person acting on behalf of the Trustee. For purposes of this Policy, there is one (1) Designee: the
Participating Organization.

¢ Dispatch means when the Insured Person is:
1. in route to pick up a load;
2. picking up a load;
3. in route to deliver a load:

AH 400A OA TIGIT 02 12 Page 27 of 35
 

Case: 1:15-cv-05181 Document #: 11-2 Filed: 07/14/15 Page 12 of 22 PagelD #:112

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unloading a load;

in route after dropping off a load;

waiting for a load if the Insured Person is not at home;

required to perform services by or for a motor carrier; or

performing activities to comply with the laws of the United States (whether federal, state or territories) to satisfy
motor carrier or commercial driving requirements.

Dispatch must be authorized by the Participating Organization. Dispatch does not include an Injury during usual
travel between, to, and from work or a bona fide leave of absence or vacation.

For purposes of this Policy, if the Insured Person is performing maintenance and/or repairs on a power unit which the
Insured Person owns or leases, the Insured Person will be deemed to be under Dispatch. The Insured Person must
provide proof which is satisfactory to Us that the Injury was sustained while performing such maintenance or repairs
in order to receive Occupational Accident Benefits for the Injury.

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e Eligible Person means a person who is described in the ELIGIBILITY portion of SECTION I.

e Immediate Family Member means a person who is related to the Insured Person in any of the following ways:
Spouse, domestic partner or civil union partner, brother-in-law, sister-in-law, son-in-law, daughter-in-law, mother-in-
law, father-in-law, parent (includes stepparent), brother or sister (includes stepbrother or stepsister), or child (includes
legally adopted or placed for adoption, or stepchild) or any person residing in the Insured Person's home.

e Injury or Injuries means bodily harm or bodily damage.

e Insured Person means a person who: (1) is an Eligible Person as described in the ELIGIBILITY portion of
SECTION J; (2) has enrolled for coverage; and (3) has coverage in effect according to the terms of this Policy.

¢ Mental and Nervous or Depressive Condition means mental, nervous or emotional diseases or disorders of any type
including schizophrenia, dementia, organic brain syndrome, delirium, amnesia syndromes, and organic delusional or

hallucinogenic syndromes.

© Non-Occupational means an activity involving an Insured Person, which occurs while the Insured Person is not
under Dispatch.

e Non-Occupational Accident Benefits means the benefits We will pay for Non-Occupational Covered Losses as
shown in the SCHEDULE OF BENEFITS Section.

¢ Occupational means an activity involving an Insured Person while under Dispatch. Occupational does not
encompass any period of time during the course of everyday travel to and from work or while on vacation.

¢ Occupational Accident Benefits means the benefits We will pay for Occupational Covered Losses as shown in the
SCHEDULE OF BENEFITS Section.

¢ Occupational Assessment means a test of vocational capabilities. The process includes a review of medical records,
Injury and treatment, history and background (education, military, previous occupation(s)), evaluation of basic skills
such as reading, understanding, spelling and/or math capabilities, and vocational alternatives.

¢ Occupational Cumulative Trauma and/or Repetitive Conditions means bodily Injury to an Insured Person caused
by the combined effect of repetitive physical Occupational activities extending over a period of time, where: (1) such
condition is diagnosed by a Physician; (2) the Insured Person's performance of the activities causing the Injury
occurred during the Policy period, and the onset of the Injury occurred and was reported during the Policy period; and
(3) such activities resulted directly and independently of all other causes in a Covered Loss.

© Occupational Disease means a sickness which results in disability or death, and is caused by exposure to
environmental or physical hazards during the course of the Insured Person's Occupational activities, where: (1) such
condition is diagnosed by a Physician, and is generally accepted by the National Centers for Disease Control to be a
disease caused by such hazards; (2) exposure to such hazards is not an Accident but is caused or aggravated by the
conditions under which the Insured Person performs Occupational services; (3) the Insured Person’s last day of last
exposure to the environmental or physical hazards causing such condition occurs during the Policy Period; and (4)
such exposure results directly and independently of all other causes in a Covered Loss.

e Owner-Operator is as described in SECTION I.

AH 400A OATIGIT 02 12 Page 28 of 35
AH 400A OATIGIT 02 12

 

Case: 1:15-cv-05181 Document #: 11-2 Filed: 07/14/15 Page 13 of 22 PagelD #:113

Participating Organization is the entity shown of page 2 of this Policy as a participant in the Trucking Industry
Group Insurance Trust.

Physician means a practitioner of the healing arts acting within the scope of his or her license who is not: (1)
the Insured Person; or (2) an Immediate Family Member; or (3) a practitioner retained by the Participating

Organization.
Policy means this Occupational Accident Insurance Policy.
Policyholder is the group named as Policyholder on the front page of this Policy.

Pre-Existing Condition means a condition for which an Insured Person has sought or received medical advice or
treatment during the twelve months immediately preceding his or her effective date of coverage under this Policy.

Preferred Provider means a Physician or Hospital with which We have an agreement or contract to perform a

covered service or treatment at an agreed upon rate or a company which provides prescription drugs at an agreed upon

rate to Our Insured Persons. In the following situations only, a non-preferred provider used by an Insured Person

will be deemed to be a Preferred Provider:

1. There is no Preferred Provider located within a 50-mile radius of the legal residence of the Insured Person and
it is not reasonable to expect the Insured Person to seek treatment or services ftom a Preferred Provider,

2. The Insured Person received treatment or services under Emergency Conditions and it would not have been
reasonable to expect the Insured Person to have sought treatment or services from a Preferred Provider, or

3. The Medically Necessary Accident Medical Services required by the Insured Person are not available through
a Preferred Provider.

For purposes of this provision, an Emergency Condition or Conditions is where a Covered Injury: 1) renders the

Insured Person unable to select a Physician, Hospital, or other health care provider; 2) requires an emergency

responder to select a Physician, Hospital, or other health care provider without the prior approval of the Insured

Person; or 3) requires immediate medical care in order to prevent irreparable bodily harm or death and the nearest
qualified Physician, Hospital, or other health care provider is a non-preferred provider.

Principal Sum, as applicable to each Insured Person, means the amount of insurance in force under this Policy as
described in the Schedule.

Schedule is SECTION I of this Policy.

Spouse means the Insured Person's legally married spouse.

Trust is the Trucking Industry Group Insurance Trust established on October 27, 2011 with the SunTrust Bank as
Trustee.

Trustee is the SunTrust Bank located at 1445 New York Avenue, NW, Washington, DC 20005-2108.

Waiting Period means the consecutive number of days an Insured Person must be Temporarily Totally
Disabled or Continuously Totally Disabled before benefits become payable under the Temporary Total Disability
Benefit or the Continuous Total Disability Benefit provisions of this Policy. Benefits are not retroactive to the
first day of disability. The Waiting Period is shown in the Schedule.

We, Us, and Our refers to Atlantic Specialty Insurance Company.

Policyholder: Trucking Industry Group Insurance Trust
Participating Organization: Bluestar Service LLC

Policy Number: 216-001-031

Policy Effective Date: January 1, 2013

Underwritten by: Atlantic Specialty Insurance Company

Page 29 of 35
 

 

Case: 1:15-cv-05181 Document #: 11-2 Filed: 07/14/15 Page 14 of 22 PagelD #:114

EXHIBIT

The following Services will be provided to an Insured Person:

I, - IDENTITY MANAGEMENT SERVICES

 

Fraud Resolution Response:
e Dedicated Fraud Specialists work on behalf of the Insured Person to resolve an identity theft issue

e Monitoring Services provided following an identity theft

e Unlimited access to Crisis Resolution Center’s toll free telephone number

e Assistance in filing a police report and scheduling an interview with the police
© Preparation of all documents and phone calls needed for creditor notification

e One full year of active follow-up after resolution is complete

Proactive Fraud Response:
e Fraud Alerts

¢  Pro-active assistance following theft or loss of wallet/purse (to minimize risk)

® Credit File Freezes

Life Stage Identity Management Services:

e Home & Auto Invasion — provides options to monitor and protect identity following an incident

@ Infant and Minor Identity Risk Mitigation Response — helping parents protect their child’s identity

e Deployed Military Personnel Response — defending those who defend our country

* Medical Identity Response — the medical identity theft remedy

¢ Surviving Spouse Response — safeguarding the identity of a deceased loved one

e Identity Travel Response — helping to recover lost or stolen documentation

e Relocating Residences Response — keeping one’s identity safe during a move

* Catastrophic Event Document Replacement Response — helping disaster victims recapture critical documents

® Marriage and Divorce Response — guarding against identity theft during emotional periods of life

To access Identity Management Services call: 1-866-799-6695
and reference: Program #: 216-001-031
Group Code: OBAH

Exhibit

AH 400A OATIGIT 02 12 Page 30 of 35
 

Case: 1:15-cv-05181 Document #: 11-2 Filed: 07/14/15 Page 15 of 22 PagelD #:115

IL. - TRAVEL ASSISTANCE SERVICES

Medical Travel Assistance Services (This is available to an Insured Person while he or she is traveling 100 miles or
more from his or her Principal Residence. Also available to his or her eligible dependents provided such dependents are
traveling with the Insured Person.)

Worldwide referrals to appropriate medical and dental care

Monitoring of treatment by Regional Medical Advisors

Facilitation of hospital payments (upon receipt of guarantee to reimburse)
Transfer of insurance information and medical records to medical providers
Facilitation of hospital admission and discharge planning

Obtaining medications, vaccines and blood where unavailable, or prescription medications if lost or stolen
(provided it is legally permissible)

Coordinating replacement of corrective lenses or medical devices if lost, stolen or broken
Providing case updates to family, employer and/or home physician (with approval)
Facilitation of hotel arrangements for convalescence

Dispatch of doctors/specialists in special emergency situations

Personal Travel Assistance Services (This is available to an Insured Person while he or she is traveling 100 miles or
more from his or her Principal Residence. Also available to his or her eligible dependents provided such dependents are
traveling with the Insured Person.)

Provision of pre-travel and health information such as: 1} culture, weather, currency and regional health
concerns; 2) immunizations and vaccinations required; 3) entry and exit requirements; 4) transportation
information

Provision of real-time Security Intelligence for destination

Facilitation of replacement of lost or stolen travel documents, such as tickets or passports
Arrangement of emergency travel, including airlines and hotels

Facilitation of transfer of emergency funds

Legal referrals and assistance in obtaining bail bonds

Emergency translation services or referrals to local interpreter services

Transmission and receipt of emergency messages

Coordinating emergency boarding for, and/or return of pet

To access Travel Assistance Services, call: Toll Free: 1-866-670-6693

Exhibit

Collect: 1-973-630-6693

AH 400A OATIGIT 02 12 Page 31 of 35
 

 

 

Case: 1:15-cv-05181 Document #: 11-2 Filed: 07/14/15 Page 16 of 22 PagelD #:116

DISTRICT OF COLUMBIA
LIFE & HEALTH INSURANCE GUARANTY ASSOCIATION ACT OF 1992

Residents of the District of Columbia who purchase health insurance, life insurance, and annuities should know that the
insurance companies licensed in the District of Columbia to write these types of insurance are members of the District of
Columbia Life and Health Insurance Guaranty Association. The purpose of this Guaranty Association is to assure that
policyholders will be protected, within limits, in the unlikely event that a member insurer becomes financially unable to
meet its obligations. If this should happen, the Guaranty Association will assess its other member insurance companies for
the money to pay the claims of insured persons who live in the District of Columbia and, in some cases, to keep coverage in
force. The valuable extra protection provided by these insurers through the Guaranty Association is limited, however, as

noted below.

 

DISCLAIMER

The District of Columbia Life and Health Insurance Guaranty Association provides coverage of claims under some
types of policies if the insurer becomes impaired or insolvent. COVERAGE MAY NOT BE AVAILABLE FOR YOUR
POLICY. Even if coverage is provided, there are significant limits and exclusions. Coverage is generally conditioned on
residence in the District of Columbia. Other conditions may also preclude coverage.

The District of Columbia Life and Health Insurance Guaranty Association or the District of Columbia Insurance
Commissioner will respond to any questions you may have which are not answered by this document. Your insurer and
agent are prohibited by law from using the existence of the association or its coverage to sell you an insurance policy.

You should not rely on the availability of coverage under the Life and Health Insurance Guaranty Association Act of
1992 when selecting an insurer.

Policyholders with additional questions may contact:

Mr. Robert M. Willis
Executive Director
District of Columbia Life and Health Insurance Guaranty Association
1200 G Street, N.W.
Washington, DC 20005
Tel: (202) 434-8771
Fax: (202) 347-2990

Mr. William P. White
Commissioner
District of Columbia Department of Insurance, Securities and Banking
810 First Street, N.E., Suite 701
Washington, DC 20002
Tel: (202) 727-8000

 

 

The District of Columbia law that provides for this safety-net coverage is called the Life and Health Insurance
Guaranty Association Act of 1992. This document contains a brief summary of this law’s coverages, exclusions and limits.
This summary does not cover all provisions of the law; nor does it in any way change anyone’s rights or obligations under
the Act or the rights or obligations of the Guaranty Association. If you have obtained this document from an agent in
connection with the purchase of a policy, you should be aware that its delivery to you does not guaranty that your policy is

covered by the Guaranty Association.

DC Guaranty Notice 9.21.11 5.25.12

AH 400A OATIGIT 02 12 Page 32 of 35
 

.Case: 1:15-cv-05181 Document #: 11-2 Filed: 07/14/15 Page 17 of 22 PagelD #:117

COVERAGE

Generally, individuals will be protected by the District of Columbia Life and Health Insurance Guaranty Association if
they live in the District of Columbia and are insured under a health insurance, life insurance, or annuity contract issued bya
member insurer, or they are insured under a group insurance contract issued by a member insurer. The beneficiaries, payees
or assignees of insured persons are protected as weil, even if they live in another state.

EXCLUSIONS FROM COVERAGE

However, persons holding such policies are not protected by this Guaranty Association if:

¢ they are eligible for protection under the laws of another state (this may occur when the insolvent insurer was
incorporated in another state whose guaranty association protects insureds who live outside of that state of
incorporation);
the insurer was not authorized to do business in the District of Columbia; or
their policy was issued by a charitable organization, a fraternal benefit society, a mandatory state pooling plan, a
mutual assessment company, an insurance exchange, a non-profit hospital or medical service organization, a health
maintenance organization, or a risk retention group.

The Guaranty Association also does not provide coverage for:

e any policy or portion of a policy which is not guaranteed by the insurer or for which the individual has assumed the
risk;

any policy of reinsurance (unless an assumption certificate was issued),

any plan or program of an employer or association that provides life, health, or annuity benefits to its employees or
members to the extent the plan is self-funded or uninsured;

interest rate guarantees which exceed certain statutory limitations;

dividends, experience rating credits, or fees for services in connection with a policy,

credits given in connection with the administration of a policy by a group contract holder; or

unallocated annuity contracts.

LIMITS ON AMOUNT OF COVERAGE

The Act also limits the amount the Guaranty Association is obligated to pay. The benefits for which the Guaranty
Association may become liable shall be limited to the lesser of:

.@ the contractual obligations for which the insurer is liable or for which the insurer would have been liable if it were not
an impaired or insolvent insurer; or
® with respect to any one life, regardless of the number of policies, contracts, or certificates:
1. $300,000 in life insurance death benefits but not more than $100,000 in net cash surrender or net cash

withdrawal values for life insurance;
2. $100,000 in health insurance benefits, including net cash surrender or net cash withdrawal values; and
3. $300,000 in present value of annuity benefits, including net cash surrender or net cash withdrawal values.

Finally, in no event is the Guaranty Association liable for more than $300,000 with respect to any one individual.

DC Guaranty Notice 921.11 5.25.12

AH 400A OATIGIT 02 12 Page 33 of 35
 

Case: 1:15-cv-05181 Document #: 11-2 Filed: 07/14/15 Page 18 of 22 PagelD #:118

Our Policy Regarding Your Privacy

In order to provide the insurance products and services that respond to our customers’ diverse needs, OneBeacon Insurance Group
collects certain personal information. OneBeacon Insurance Group does not disclose any nonpublic personal information to any
affiliated or nonaffiliated third party for marketing purposes. At OneBeacon Insurance Group, maintaining the confidentiality of our
customers personal information is of the highest importance. OneBeacon Insurance Group personal information-handling practices
are governed by this privacy policy and are further regulated by law. This notice describes those practices and how they preserve
your privacy in a way that permits OneBeacon Insurance Group to provide you with the products and service you demand.

Collection of Personal Information

We get most of our information directly from you. The application you complete, as well as any additional information you provide,
generally gives us most of the information we need to know. Sometimes we may contact you by phone or mail to obtain additional
information. Depending on the nature of your insurance transaction, we may need additional information about you or other
potential insureds from outside sources such as motor vehicle records, loss information reports, credit reports, court records or other
public records. For property insurance, we may send someone to inspect your property and verify information about its value and
condition, and a photo of the property may be taken.

We also may obtain information from third parties such as other insurance companies or consumer reporting agencies. A consumer
report from such an agency may contain information as to credit worthiness and credit standing. If we order any kind of consumer
report, upon request, we will tell you how to get a copy of the report. The agency preparing a consumer report for us may keep the
information collected about you as permitted by law, and it may be disclosed to other persons.

Disclosure of Personal Information

Information which has been collected about you will be contained in either our policy records or in your producer's files. We review
it in evaluating your request for insurance coverage and in determining your rates. We will also use information in our policy
records for purposes related to issuing and servicing insurance policies and settling claims. OneBeacon Insurance Group may
disclose personal information to others in order to service, process or administer business such as underwriting and claims
operations. In this context, OneBeacon Insurance Group may disclose (i) information we receive from you on applications and other
forms, including information such as assets, income, and identifying information such as name, address and social security number;
(ii) transaction information such as information about balances, payment history and parties to the transaction; and (iii) information
from consumer reporting agencies such as a consumer's credit worthiness and credit history.

If coverage is declined or the charge for coverage is increased because of information contained in a consumer report, we will tell
you as required by state law and the federal Fair Credit Reporting Act. We will also give you the name and address of the consumer

reporting agency making the report.

Parties to Whom Information May be Disclosed

OneBeacon Insurance Group will not disclose information about you to others without your written consent unless the disclosure is

necessary to conduct our business. By law, OneBeacon Insurance Group is permitted to share information about you without prior

permission under certain circumstances to certain persons and organizations such as:

® Your producer.

e Parties who perform a business, professional or insurance function for our company, including our reinsurance companies.

e Claim adjusters, appraisers, investigators and attorneys who need the information to investigate, defend or settle a claim
involving you.

® Insurance support organizations which are established to collect information for the purpose of detecting and preventing
insurance crimes and fraudulent claims.

e Insurance regulatory agencies in connection with the regulation of our business.

e Law enforcement or other governmental! authorities to protect our legal interest, or in cases of suspected fraud or illegal
activities.

e Authorized persons as ordered by subpoena, warrant or other court order or as required by law.

e Lien holder, mortgagee, assignee, lessor, or other person shown on our records or our producer’s as having a legal or beneficial
interest in a policy of insurance.

e Parties acting in a fiduciary or representative capacity to you (attorneys, accountants and auditors).

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AH 400A OATIGIT 02 12 Page 34 of 35
 

Case: 1:15-cv-05181 Document #: 11-2 Filed: 07/14/15 Page 19 of 22 PagelD #:119

e Insurance rate advisory organizations.

e Parties enforcing OneBeacon Insurance Group rights in connection with the settlement of a debt, the transfer of interests or an
audit,

e Parties administering transactions as requested or authorized by you.

Right of Access to Personal Information

You have the right to know what kind of information we keep in our files about you, to have reasonable access to it and to receive a
copy. Write to us if you have questions about the information. Provide yout complete name, address, type of policy and policy
number that was issued or applied for with us. Mail your request to: Privacy Administrator, Post Office Box 254, Canton, MA,
02021-0254. Certain types of information generally collected when evaluating claims or possible lawsuits need not be disclosed to
you.

Within thirty (30) business days of receipt of your request, we will inform you in writing of the nature and substance of retrievable
recorded personal information about you in our files. You may review this information in person or receive a copy by mail. We will
also identify the person or organization to which we have disclosed this information within the past two (2) years. In addition, you
will be given the name and address of any consumer reporting agency which prepared a report about you so that you can contact
them for a copy.

After you have reviewed the personal information about you in our file, you can write to us if you believe it should be corrected,
amended or deleted. We will consider your request, and within thirty (30) days either change the information or tell you that we did
not and state the reason. If we do not make changes, you will have the right to insert in our file a concise statement containing what
you believe to be the correct, relevant or fair information, and explaining which information on file you believe to be improper. We
will notify persons designated by you to whom we have previously disclosed the information of the change or your statement.
Subsequent disclosures we make also will include your statement.

Confidentiality and Security of Personal Information

Our company maintains appropriate standards and procedures to prevent unauthorized access to your information. OneBeacon
Insurance Group limits employee access to personally identifiable information to those with a business reason for knowing such
information. We educate our employees so that they will understand the importance of confidentiality of personal information and

take appropriate measures to enforce privacy responsibilities.

Treatment of Personal Information of Former Customers

OneBeacon Insurance Group follows this personal information privacy policy even when a customer relationship no longer exists.

If you have additional questions about the privacy of your personal information or about your insurance needs in general, please
contact your producer.

Effective July 1, 2001

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AH 400A OATIGIT 02 12 Page 35 of 35
 

Case: 1:15-cv-05181 Document #: 11-2 Filed: 07/14/15 Page 20 of 22 PageID #:120

OneBeacon

IN § U RAN C E®@

 

Policyholder: Trucking Industry Group Insurance Trust Effective Date of Endorsement: January 1, 2013
Participating Organization: Bluestar Services LLC Policy Number: 216-001-031

 

ELIGIBILITY CHANGE ENDORSEMENT

It is hereby understood and agreed that, as of the effective date indicated above, the following Class III is added to
SECTION I-ELIGIBILITY, EFFECTIVE DATE AND TERMINATION DATE of this Policy:

Class III:
All Contract Drivers of the Participating Organization who enroll for coverage under this Policy. For purposes of this

Policy, a Contract Driver must:
1. have a valid and current Commercial Driver's License or the required license for the vehicle he or she is assigned to

operate;
2. be authorized by the Participating Organization to operate a power unit owned or leased by the Participating
Organization. (Such Contract Driver must neither own nor lease the power unit.);

3. be compensated on a basis other than time expended in the performance of work;

4. be responsible for determining the route and hours for an assignment;

S, operate the power unit of the Participating Organization as an Independent Contractor. (Operating the unit must be the
principal duty of such Contract Driver.)

6. be classified as an Independent Contractor by the Participating Organization and not as an employee for purposes of
workers’ compensation insurance, federal income taxes, state income taxes, social security, unemployment insurance or

for any other purpose;
7. receive a 1099 form for federal income tax reporting purposes, not a W-2;
8. not be an employee of the Participating Organization.

Except for the above, this Endorsement does not vary, alter, waive, or extend any of the terms of the Policy to which it is
attached.

Endorsement No. 1
In Witness Whereof, We have caused this Endorsement to be executed and attested.

thaz 0. Amy late, Loree

Virginia A. McCarthy, Secretary Michael Miller, President & CEO
Atlantic Specialty Insurance Company Atlantic Specialty Insurance Company

Page | of |

AH 403A OA TIGIT 02 12
(prepared: 04-29-2013)
 

Case: 1:15-cv-05181 Document #: 11-2 Filed: 07/14/15 Page 21 of 22 PagelD #:121

 

OneBeacon

INS U RAN C E®

Policyholder: Trucking Industry Group Insurance Trust — Effective Date of Endorsement: October 1, 2013
Participating Organization: Bluestar Services LLC Policy Number: 216-001-031

 

ELIGIBILITY CHANGE ENDORSEMENT

It is hereby understood and agreed that, as of the effective date indicated above, the following Class I] is deleted from
SECTION L-ELIGIBILITY, EFFECTIVE DATE AND TERMINATION DATE of this Policy:

 

Class II:

All Contract Drivers of the Participating Organization who enroll for coverage under this Policy. For purposes of this

Policy, a Contract Driver must:

1. have a valid and current Commercial Driver's License or the required license for the vehicle he or she is assigned to
operate;

2. be authorized by the Participating Organization to operate a power unit owned or leased by the Participating
Organization. (Such Contract Driver must neither own nor lease the power unit.);

3. be compensated on a basis other than time expended in the performance of work;

4. be responsible for determining the route and hours for an assignment,

5. operate the power unit of the Participating Organization as an Independent Contractor. (Operating the unit must be the
principal duty of such Contract Driver.)

6. be classified as an Independent Contractor by the Participating Organization and not as an employee for purposes of
workers' compensation insurance, federal income taxes, state income taxes, social security, unemployment insurance or

for any other purpose;
7. receive a 1099 form for federal income tax reporting purposes, not a W-2;
8. not be an employee of the Participating Organization.

Except for the above, this Endorsement does not vary, alter, waive, or extend any of the terms of the Policy to which it is
attached.

Endorsement No. 2

In Witness Whereof, We have caused this Endorsement to be executed and attested.

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Virginia A. McCarthy, Secretary Michael Miller, President & CEO
Atlantic Specialty Insurance Company Atlantic Specialty Insurance Company
AH 403A OA TIGIT 02 12 Page 1 of |

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Case: 1:15-cv-05181 Document #: 11-2 Filed: 07/14/15 Page 22 of 22 PagelD #:122

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Policyholder: Trucking Industry Group Insurance Trust —_ Effective Date of Endorsement: October 1, 2013
Participating Organization: Bluestar Services LLC Policy Number: 216-001-031

 

RATE CHANGE ENDORSEMENT

It is hereby understood and agreed that, as of the effective date indicated above, the Premium Amount, as it appears in
SECTION III — PREMIUM of the above referenced Policy, is deleted in its entirety and replaced with the following:

Premium Amount:

Class I: $134.00 per Owner-Operator per month
Class II: $134.00 per Contract Driver per month

Except for the above, this Endorsement does not vary, alter, waive, or extend any of the terms of the Policy to which it is
attached.

Endorsement No. 3
In Witness Whereof, We have caused this Endorsement to be executed and attested.

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Virginia A. McCarthy, Secretary Michael Miller, President & CEO
Atlantic Specialty Insurance Company Atlantic Specialty Insurance Company

Page | of 1

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